           Case 2:10-cr-00364-MCE Document 57 Filed 06/22/11 Page 1 of 3


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 4   Telephone: (916) 554-2797
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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    ) No. 2:10-cr-00364-MCE
                                  )
12                    Plaintiff, ) STIPULATION AND ORDER
                                  ) RESETTING STATUS CONFERENCE
13                v.              ) AND EXCLUDING TIME UNDER
                                  ) THE SPEEDY TRIAL ACT
14                                )
     SOHAIL MOHAMMAD AMIN, and    )
15   SAKANDER SULTAN AMIN         )
                                  )
16                    Defendants. )
     _____________________________)
17
18        The United States of America, through its counsels of record,
19   Benjamin B. Wagner, United States Attorney for the Eastern District
20   of California, and Michael M. Beckwith, Assistant United States
21   Attorney, defendant Sohail Mohammed Amin, through his counsel of
22   record, Patrick Hanly, Esq., and defendant Sakander Sultan Amin
23   through his counsel of record, Thomas Johnson, Esq., hereby
24   stipulate and agree that the status conference set for June 23,
25   2011, be continued to July 7, 2011, at 9:00 a.m.
26        The parties need additional time for preparation.          Therefore,
27   the parties have agreed and respectfully request that the Court set
28   the date of July 7, 2011, at 9:00 a.m., for the status conference.

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           Case 2:10-cr-00364-MCE Document 57 Filed 06/22/11 Page 2 of 3


 1        Accordingly, the parties stipulate that time be excluded
 2   pursuant to 18 U.S.C. § 3161(h)(1)(F) and Local Code T4, United
 3   States Code section 3161(h)(7)(B)(iv), to give the defendant time to
 4   further review the discovery and to adequately prepare
 5   IT IS SO STIPULATED.
 6                                         BENJAMIN B. WAGNER
                                           United States Attorney
 7
 8   Dated: June 21, 2011                     By:   /s/ Michael M. Beckwith
 9                                            MICHAEL M. BECKWITH
                                              Assistant U.S. Attorney
10                                            Attorney for Plaintiff
11
12   DATED: June 21, 2011                     By:   /s/ Patrick K. Hanly
13                                            PATRICK K. HANLY
                                              Attorney for Defendant
14                                            SOHAIL MOHAMMED AMIN
15
     DATED: June 21, 2011                     By: /s/ Thomas Johnson
16                                            THOMAS JOHNSON
                                              Attorney for Defendant
17                                            SAKANDER SULTAN AMIN
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           Case 2:10-cr-00364-MCE Document 57 Filed 06/22/11 Page 3 of 3


 1                                      ORDER
 2        UPON GOOD CAUSE SHOWN and by stipulation of all parties, it is
 3   hereby ordered that this matter be set for further status conference
 4   as set forth above.
 5        The Court finds excludable time as set forth above to and
 6   including July 7, 2011.
 7        IT IS SO ORDERED.
 8
     Dated: June 21, 2011
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10                                      _____________________________
                                        MORRISON C. ENGLAND, JR.
11                                      UNITED STATES DISTRICT JUDGE
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